                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                       AT CHATTANOOGA


UNITED STATES OF AMERICA                            )
                                                    )      Case No. 1:17-cr-69-HSM-SKL
v.                                                  )
                                                    )
AMANDA DAVIS                                        )

                                            ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the ten-count

 Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

 Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

 whether to accept the amended plea agreement until sentencing; and (5) find Defendant shall remain

 in custody until sentencing in this matter [Doc. 160 ]. Neither party filed a timely objection to

 the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation.      Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation [Doc. 160] pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

        (1)    Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

               is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

        (3)    Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment;

        (4)   A decision on whether to accept the amended plea agreement is DEFERRED until

              sentencing; and




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       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on February 12, 2018 at 9:00 a.m. [EASTERN] before

             the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:


                                                       /s/ Harry S. Mattice, Jr._______
                                                      HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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